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                                                                                  U.S. Department of Homeland Security
                                                                                  I.S, Citizenship and Immigration Services
                                                                                  I os Angeles County Field Office
                                                                                  300 N. Los Angeles Street. Room 6024
                                                                                  Los Angeles, (A 90012


                                                                                  U.S. Citizenship
                                                                                  and Immigration
                                                                                  Services
     May 12, 2020


     Yayomi Kanai                                                          AXXXXXXXX
     12891 Hammock Lane                                                    MSC1991142763
     Playa Vista, CA 90094

                                              DECISION

     Dear Yayomi Kanai:


    On June 3, 2019, you filed Form 1-485, Application to Register Permanent Residence or Adjust
    Status, with U.S. Citizenship and Immigration Services (USCIS) under section 245 of the
    Immigration and Nationality Act (INA).

    After a thorough review of your application, supporting documents, and testimony during your
    interview, we must inform you that we are denying your application for the following reason(s).

   Generally, to qualify for adjustment under INA 245, an applicant must:

       •    Be inspected and admitted or paroled into the United States;
       •    Be eligible to receive an immigrant visa;
       •    Be admissible to the United States for permanent residence; and
       •    Have an immigrant visa immediately available at the time the application is filed.

                  Statement of Facts and Analysis, Including Ground(s) for Denial

   You filed Form 1-485 based on being beneficiary of an immigrant petition, filed on your behalf
   by your spouse, Dwight Davidson Liu. Form I-130 was approved by USCIS on February 7,
   2020.

   On January 15, 2020, you appeared for an interview to determine your eligibility for adjustment
   of status. During the interview and review of your application with an Immigration Services
   Officer, you testified that the information on your Form 1-485, along with any amendments made
   during the adjustment interview, and supporting documents were true and correct.

   On February 21, 2020, USCIS issued a Notice of Intent to Deny (NOID). Through your attorney
   of record, you submitted a timely response to the NOID on March 2, 2020.

   In the response your attorney asserts the following;
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        •   "Ms. Kanai last departed the U.S. in January 2006 thus she is not seeking admission
            within 10 years of the date of her departure from the United States. Therefore she is not
            inadmissible"
                    [l]n interpreting a statue a court should always tum to one, cardinal canon before
                    all others. We have stated time and again that courts must presume that a
                    legislature says what it means and means in a statue what it says there. When the
                    words of a statue are unambiguous, then, this first canon is also the las: judicial
                    inquiry is complete. See Connecticut National Bank v. Germain, 503 U.S. 249,
                    253-254 ( 1992)

        •   "Accordingly, the USCIS must likewise presume that the Congress said what it meant
            and meant what it said in INA 212(a)(9)(B)(i)(II). Inasmuch as the words of the statute
            are unambiguous, therefore this first canon is also the last and the administrative inquiry
            is complete. Ms. Kanai is no longer inadmissible to the United States because it has been
            more than IO years since her departure following her last overstay."

        •   ·'Therefore, had Congress intended that a person must be outside the U.S. through her
            period of inadmissibility, it could have expressed that intent by providing that INA
            2 I 2(a)(9)(B)(i)(II) didn't apply to a person seeking admission more than IO years after
            her last departure if she was seeking reembarkation at a place outside of the U.S. or
            attempting to be readmitted from a foreign contiguous territory"


        •   "Where Congress includes particular language in one section of a statute but omits it in
            another section of the same statute, it is generally presumed that Congress acts
            intentionally in the inclusion or exclusion. Therefore it should be presumed that
            Congress acted intentionally when it failed to include in INA 2 12(a)(9)(B) the language it
            used in INA 212(a)09)(C) to ensure that a person inadmissible under that section had to
            remain outside the U.S. for at least 10 years before seeking readmission. Accordingly,
            Ms. Kanai is not now, and has not been since January 2016, inadmissible to the U.S."

    USCIS records and your testimony establish that you entered the United States as a visitor for
    pleasure admitted under the Visa Waiver Program (VWP) on or about September of 1995 and
    departed on or about December of 1995. You reentered the United States as a visitor for pleasure
    admitted under the Visa Waiver Program (VWP) on an unknown month in 1996. You were
    authorized to remain in the United States for 90 days in accordance with the VWP. However,
    you remained in the United States until an unknown month in 2003, at which time you departed.
    You were unlawfully present in the United States for a period of more than one year. You then
    reentered the United States as a visitor for pleasure admitted under the Visa Waiver Program
    (VWP) on or about November 4, 2005 and have not departed.

    You were unlawfully present in the United States for a period of more than one year, then
    voluntarily departed in 2003. Thus, you accrued more than one year of unlawfu I presence in the
    United States from 1996 to 2003. Since you did not obtain an advance parole document prior to
    leaving the United States, your leaving the United States counts as a "departure' for purposes of
    inadmissibility. See Maller ofArrabally, 25 I&N Dec. 771 (BIA 2012). Therefore, you are
    inadmissible to the United States.

    Acquiring more than one year of unlawful presence followed by a departure from the United
    States renders an individual inadmissible for ten years from the date of such departure. See INA
    212(a)(9)(B)(i)(II). In your case, the period of inadmissibility would have continued until 2013,
    but was tolled when you were admitted to the United States on November 4, 2005 as a visitor for

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    pleasure under the VWP without an INA 2 l2(d)(3) waiver of inadmissibility. Although your
    return was a procedurally regular "admission" pursuant to Matter ofQuilantan, 25 l&N Dec. 285
    (BIA 2010), it was not substantively lawful in view of the existing unlawful presence ground of
    inadmissibility, which precludes your admissibility now for purposes of INA 245(a)(2). For your
    admission to have been substantively lawful, you would have had to obtain a waiver of
    nonimmigrant inadmissibility under INA 2 l 2(d)(3) at the time of your entry on November 4,
    2005. Cf 8 CFR 212.2(a) ("A temporary stay in the United States under section 212(d)(3) of the
    Act does not interrupt the five or twenty consecutive year absence requirement.); see also,
    Memo, Donald Neufeld, Acting Associate Director, Consolidation of Guidance Concernign
    Unlawful Presence for Purposes of Sections 2 l 2(a)(9)(B)(i) and 2 l 2(a)(9)(C)(i)(I) of the Act, at
    46 (May 6, 2009).

    The record currently contains no evidence that you obtained a section 212(d)(3) waiver of
    inadmissibility. Thus, while your admission was procedurally regular, your admission was
    substantively unlawful and therefore tolled the running of the IO year bar to admissibility under
    INA 2 l 2(a)(9)(B)(i)(ll).

    An applicant seeking adjustment of status must establish admissibility "clearly and beyond
    doubt." Matier of Bell, 26 I&N Dec. 437,440 (BIA 2014). The current record does not include
    evidence that you obtained a section 212(d)(3) waiver in order to return to the United States
    lawfully on November 4, 2005, thereby preventing your inadmissibility period from continuing to
    run while you are physically present in the United States.

    You assert that the mere passage of IO years since a prior departure means that admission would
    no longer be barred by INA 212(a)(9)(B)(i)(ll), even if one has spent most of that time in the
    United States after a substantively unlawful admission, followed by a new period of unauthorized
    stay. On this issue, the statute either refutes your contention or is silent, such that the expertise of
    the agency interpreting the provision is entitled to deference. See INS v. Aguirre-Aguirre, 526
    U.S. 415, 424-25 (I 999); Chevron, U.S.A., Inc. v. NRDC, 467 U.S. 837, 842-44 (1984); see also
    Abramski v. United States, 134 S. Ct. 2259, 2267 (2014) (explaining that statutory terms must be
    interpreted "with reference to the statutory context, 'structure, history, and purpose'") (citation
    omitted). The purpose of INA 2 l 2(a)(9)(B)(i) is to impose a civil sanction for previously
    remaining in the United States contrary to law. Your argument would mean that one can avoid
    this civil sanction simply by returning to the United States in a procedurally regular manner,
    although in an unlawful manner, and then waiting out the IO year period here (and doing so,
    largely, in a lapsed and therefore unlawful status). In other words, your interpretation would
    create a perverse incentive: violating the law again would allow one to escape the sanction for
    the original violation. That is an "absurd result" that the statute could not have intended. See.
    e.g., Griffin v. Oceanic Contractors, 458 U.S. 564, 575 (1982). The legislative and regulatory
    history amply supports rejecting that view. See id. at 575 ("interpretations of a statute which
    would produce absurd results are to be avoided if alternative interpretations consistent with the
    legislative purpose are available").

   Congress enacted INA 2 l 2(a)(9)(B) through section 30 I (b)( I) of the Illegal Immigration Reform
   and Immigrant Responsibility Act of 1996 (IRAIRA), Pub. L. No. I 04-208, Division C, 110
   Stat. 3009-575 to -577 ( 1996). IIRAIRA also essentially renumbered as INA 2 l 2(a)(9)(A)(i) and
   (ii) two long-standing inadmissibility grounds that had previously been INA 2 12(a)(6)(A) and
   (B). Before that, they were INA 2 12(a)(16) and ( 17) in the INA as enacted in 1952. The origin
   of INA 212(a)(9)(A) is even older than that, having first been enacted through the 1917
   Immigration Act, Pub. L. No. 64-301, 39 Stat. 874, 876 (1917). The only significant difference
   between INA 2 l 2(a)(9)(A) and its precursors is the length of the inadmissibility period.


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    This related inadmissibility provision, INA 212(a)(9)(A), renders inadmissible certain aliens
    previously excluded, deported or removed from the United States for a specified period of time
    unless the alien receives USCIS's consent to reapply for admission (the "consent to reapply"
    period). USCIS notes that the language "again seeks admission within" a specified period after
    exclusion, deportation, removal or departure is the same in INA 2 l 2(a)(9)(A) and (B). The same
    construct was largely in former INA 212(a)(6)(A) and (B), in former INA 212(a)(16), and in the
     1917 Act. The presumption is that that language -"seeks admission within" means the same
    thing in each provision. It is this parallel construction of sections 2 I 2(a)(9)(A) and 212(a)(9)(B)
    that allows the interpretation of INA 2 l 2(a)(9)(A) to inform interpretation of the more recent
    addition to the INA, section 2 12(a)(9)(B).

    When Congress reenacts an existing provision without substantive changes, and, at the same time,
    enacts a new provision in the same statute using the wording of the existing provision, it is
    presumed that Congress intended to adopt the existing and administratively settled interpretation.
    See Lorillard v. Pons, 434 U.S. 575, 580 ( 1979). It has been settled since at least 1982 that an
    alien who has been removed must remain outside the United States for a consecutive period equal
    to the "consent to reapply" period (absent receiving official consent to seek admission), in order
    to be relieved of inadmissibility under what is now section 2 l 2(a)(9)(A). 8 CFR 212.2(a); 47
    Fed. Reg. 12129 (1982). The final rule made clear that returning unlawfully before the end of the
    consent to reapply period "is interruptive" of the consent to reapply period. 47 Fed. Reg. 44,233,
    44,233 (1982). The inadmissibility period does continue to run, however, if the alien returns
    lawfully with an INA 212(d)3) waiver. Cf. 8 CFR 212.2(a)(" ... A temporary stay in the United
    States under section 212( d)(3) of the Act does not interrupt the five or twenty consecutive year
    absence requirement.").

    Congress is presumed to know the settled meaning of a concept, and to intend that meaning to
    apply to a new use of the concept. See Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 184-85
    (1988) (Congress is "generally presume[d]...knowledgeable about existing law pertinent to the
    legislation it enacts."). In light of the interpretive history of section 2 12(a)(9)(A), and the similar
    "again seeks admission within" language in section 212(a)(9)(B)(i) and (ii), USCIS concludes
    that an alien who is inadmissible under section 212(a)(9)(B) must remain outside the United
    States for a consecutive period of 3 or IO years in order to be relieved of inadmissibility or,
    during the relevant period, return lawfully to the United States with an INA 2 I 2(d)(3) waiver in
    order to wait out the relevant inadmissibility period from within the United States.

    This conclusion is bolstered by the overall structure of the 1996 amendments to INA 2 I 2(a)(9).
    Congress's amendments that year created a tiered system for addressing the multiple, related
    problems of aliens who had previously been removed and again sought admission; aliens who had
    previously been in the United States unlawfully and sought to return; and aliens who had been
    removed or previously present unlawfully and who nevertheless again returned or attempted to
    return unlawfully. See INA 2 l 2(a)(9)(A), (B), (C). Regarding the first group, further gradations
    of penalties exist but generally INA 212(a)(9)(A) creates several periods of mostly limited
    duration during which, if a removed alien wishes to seek admission again to the United States, he
    must obtain official consent to do so. See INA 2 l 2(a)(9)(A)(iii). Apart from prior removals,
    aliens with prior unlawful presence in the United States are barred from readmission for certain
    periods, unless he obtains a waiver on which Congress imposed substantial constraints on official
    discretion to grant. See INA 2 l 2(a)(9)(B)(v) (requiring not merely "consent" to allow application
    for admission, but a showing of extreme hardship, and only to certain relatives, if the alien were
    denied admission). Finally, in the case of an alien who not only has either a prior removal order
    or unlawful presence, but who has also entered or attempts to reenter the United States without
    being admitted, officials generally have no ability at all to excuse the resulting bar to
    admissibility that exists for a ten-year period. See INA 2 l 2(a)(9)(C)(ii); see also In re Torres-

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    Garcia, 23 I. & N. Dec. 866, 873 (BIA 2006) ("A request for a waiver of the section
    2 l 2(a)(9)(C)(i)(II) ground of inadmissibility that is made less than IO years after the alien's last
    departure from the United States simply cannot be granted."). It is apparent from this framework
    that Congress intended not only to implement escalating levels of punishment for conduct
    associated with prior removals, unlawful presence, and illegal entry, but also to limit increasingly
    the extent to which punishment could be excused by officials in certain instances. Within this
    framework, it would make no sense whatsoever if an alien with prior unlawful presence could
    simply avoid not only the bar to inadmissibility but also the constaints on excusing this particular
    bar simply by leaving the United States, then returning in a manner that paid no heed whatsoever
    to these limitations, and then remained in the United States in a mostly unauthorized (and
    therefore unlawful) immigration status for the supposed duration of the period of inadmissibility.
    Such a result would clearly frustrate Congress's purpose in the way in which it designed INA
    2 12(a)(9) in 1996.

    An applicant seeking adjustment of status must establish admissibility "clearly and beyond
    doubt." Maller of Bell, 26 l&N Dec. 437,440 (BIA 2014). The current record does not include
    evidence that you obtained a section 212( d )(3) waiver in order to return to the United States
    lawfully on November 4, 2005, thereby preventing your inadmissibility period from continuing to
    run while you are physically present in the United States.

    You are not qualified to adjust status, and USCIS denies your Form 1-485. See INA 212(a)(9)(B)
    and INA 245(a)(2).

    The evidence of record shows that, when you filed your application, you were present in the
    United States contrary to law. You are not authorized to remain in the United States. If you fail
    to depart the United States within 33 days of the date of this letter, USCIS may issue you a Notice
    to Appear and commence removal proceedings against you with the immigration court. This may
    result in your being removed from the United States and found ineligible for a future visa or other
    U.S. immigration benefit. See sections 237(a) and 212(a)(9) of the INA.

    To review information regarding your period of authorized stay, check travel compliance, or find
    information on how to validate your departure from the United States with Customs and Border
    Protection (CBP), please see (https://i94.cbp.dhs.gov/194/#/home).

    You may not appeal this decision. However, if you believe that the denial of your Form 1-485 is
    in error, you may file a motion to reopen or a motion to reconsider using Form l-290B, Notice of
    Appeal or Motion. The grounds for a Motion to Reopen and Motion to Reconsider are explained
    in 8 CFR 103.5(a). You must file Form 1-290B within 30 days of the date of this decision if this
    decision was served in person, or within 33 days if the decision was served by mail. See 8 CFR
     103.5(a) and I 03.8(b). Note: You must follow the most current filing instructions for Form I-
    290B, which can be found at www.uscis.gov.

    To access Form 1-290B or if you need additional information, please visit the USCIS Web site at
    www.uscis.gov or call the USCIS Contact Center toll free at 1-800-375-5283.

    NOTE on Employment Authorization: Any employment authorization based upon this Form I-
    485 is automatically terminated if the expiration date on the employment authorization document
    has been reached. See 8 CFR 274a. 14(a)(1 )(i). Since this Form 1-485 is denied. the condition
    upon which your employment authorization was based no longer exists. Therefore, USCIS has
    determined that any pending Form 1-765, Application for Employment Authorization, related to
    the Form 1-485 is also denied. In addition, any unexpired employment authorize tion based upon
    this Form 1-485 is revoked as of 18 days from the date of this notice, unless you submit, within 18

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    days, proof that your Form 1-485 remains pending. See 8 CFR 274a.14(b)(2). The decision shall
    be final and no appeal shall lie from the decision to revoke the authorization. Your employment
    authorization document should be returned to the local USCIS office.

    NOTE on Advance Parole Document: Any advance parole document based upon this Form I-
    485 is automatically tenninated if the expiration date of the time for which parole was authorized
    has been reached. See 8 CFR 2 I 2.5(e)(I )(ii). Since this Form 1-485 is denied, the purpose for
    which your advance parole document was issued has been accomplished. Therefore, USCIS has
    detennined that any pending Form I-131, Application for Travel Document, related to the Form I-
    485 is also denied. In addition, any unexpired advance parole document issued to you based upon
    this Form 1-485 is tenninated as of the date of this notice. See 8 CFR 212.5(e)(2)(i). Your
    advance parole document should be returned to the local USCIS office.


    Sincerely,



  Ke
  Field Office Director
  Signed for by:
  LAC1SO2024
    cc: Linda Lee
        Immigration Law Office of Los Angeles
        3415 S. Sepulveda Blvd. Ste. 570
        Los Angeles, CA 90034




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                                              Attachment
                                      (Applicable Law/Regulations)

    INA245

    ADJUSTMENT OF STATUS OF NONIMMIGRANT TO THAT OF PERSON ADMITTED
    FOR PERMANENT RESIDENCE
    (a) The status of an alien who was inspected and admitted or paroled into the United States or the
    status of any other alien having an approved petition for classification as a VA WA self-petitioner
    may be adjusted by the Attorney General, in his discretion and under such regulations as he may
    prescribe, to that of an alien lawfully admitted for permanent residence if
    (I) the alien makes an application for such adjustment,
    (2) the alien is eligible to receive an immigrant visa and is admissible to the United States for
    permanent residence, and
    (3) an immigrant visa is immediately available to him at the time his application is filed.


    INA 212(a)

    CLASSES OF ALIENS INELIGIBLE FOR VISAS OR ADMISSION

    (9)(B) Aliens Unlawfully Present.

    (i) In general. Any alien (other than an alien lawfully admitted for permanent residence) who-

    (1) was unlawfully present in the United States for a period of more than 180 days but less than I
    year, voluntarily departed the United States (whether or not pursuant to section 244(e) ) prior to
    the commencement of proceedings under section 235(b)(l) or section 240, and again seeks
    admission within 3 years of the date of such alien's departure or removal, or

    (II) has been unlawfully present in the United States for one year or more, and who again seeks
    admission within IO years of the date of such alien's departure or removal from the United States,
    is inadmissible.

    (ii) Construction of unlawful presence. For purposes of this paragraph, an alien is deemed to be
    unlawfully present in the United States if the alien is present in the United States after the
    expiration of the period of stay authorized by the Attorney General or is present in the United
    States without being admitted or paroled.

    (iii) Exceptions.

    (I) Minors. No period of time in which an alien is under 18 years of age shall be taken into
    account in determining the period of unlawful presence in the United States under clause (I).

    (II) Asylees. No period of time in which an alien has a bona fide application for asylum pending
    under section 208 shall be taken into account in determining the period of unlawful presence in
    the United States under clause (i) unless the alien during such period was employed without
    authorization in the United States.

    (Ill) Family unity. No period of time in which the alien is a beneficiary of family unity protection
    pursuant to section 301 of the Immigration Act of 1990 14/ shall be taken into account in
    determining the period of unlawful presence in the United States under clause (I).

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    (IV) Battered women and children. Clause (i) shall not apply to an alien who would be described
    in paragraph (6)(A)(ii) if"violation of the terms of the alien's nonimmigrant visa" were
    substituted for "unlawful entry into the United States" in sub-clause (Ill) of that paragraph.

    (V) VICTIMS OF A SEVERE FORM OF TRAFFICKING IN PERSONS Clause (i) shall not
    apply to an alien who demonstrates that the severe form of trafficking (as that term is defined in
    section 103 of the Trafficking Victims Protection Act of 2000 (22 U.S.C. 7102)) was at least one
    central reason for the alien's unlawful presence in the United States.

    (iv) Tolling for good cause. In the case ofan alien who

    (I) has been lawfully admitted or paroled into the United States,

    (II) has filed a non-frivolous application for a change or extension of status before the date of
    expiration of the period of stay authorized by the Attorney General, and

    (Ill) has not been employed without authorization in the United States before or during the
    pendency of such application, the calculation of the period of time specified in clause (i)(I) shall
    be tolled during the pendency of such application, but not to exceed I 20 days.

    (v) Waiver. The Attorney General has sole discretion to waive clause (i) in the case of an
    immigrant who is the spouse or son or daughter ofa United States citizen or of an alien lawfully
    admitted for permanent residence, ifit is established to the satisfaction of the Attorney General
    that the refusal of admission to such immigrant alien would result in extreme hardship to the
    citizen or lawfully resident spouse or parent of such alien. No court shall have jurisdiction to
    review a decision or action by the Attorney General regarding a waiver under this clause.


    8CFR 245.2

    (5) Decision   --
    (i) General. The applicant shall be notified of the decision of the director and, if the application is
    denied, the reasons for the denial.

    (ii) Under section 245 of the Act. If the application is approved, the applicant's permanent
    residence shall lie recorded as of the date of the order approving the adjustment of status. An
    application for adjustment of status, as a preference alien, shall not be approved until an
    immigrant visa number has been allocated by the Department of State. No appeal lies from the
    denial of an application by the director, but the applicant, if not an arriving alien, retains the right
    to renew his or her application in proceedings under 8 CFR part 240. Also, an applicant who is a
    parolee and meets the two conditions described in§ 245.2(a)(I) may renew a denied application
    in proceedings under 8 CFR part 240 to determine admissibility. At the time of renewal of the
    application, an applicant does not need to meet the statutory requirement of section 245(c) of the
    Act, or§ 245. l(g), if, in fact, those requirements were met at the time the renewed application
    was initially filed with the director. Nothing in this section shall entitle an alien to proceedings
    under section 240 of the Act who is not otherwise so entitled

    8CFR 103.5




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    (a) Motions to reopen or reconsider in other than special agricultural worker and legalization
    cases
    ( I ) When filed by affected party-
    (i) General. Except where the Board has jurisdiction and as otherwise provided in 8 CFR parts 3,
    210, 242 and 245a, when the affected party files a motion, the official having jurisdiction may,
    for proper cause shown, reopen the proceeding or reconsider the prior decision. Motions to
    reopen or reconsider are not applicable to proceedings described in§ 274a.9 of this chapter. Any
    motion to reconsider an action by the Service filed by an applicant or petitioner must be filed
    within 30 days of the decision that the motion seeks to reconsider. Any motion to reopen a
    proceeding before the Service filed by an applicant or petitioner, must be filed within 30 days of
    the decision that the motion seeks to reopen, except that failure to file before this period expires,
    may be excused in the discretion of the Service where it is demonstrated that the delay was
    reasonable and was beyond the control of the applicant or petitioner.
    (ii) Jurisdiction. The official having jurisdiction is the official who made the latest decision in the
    proceeding unless the affected party moves to a new jurisdiction. In that instance, the new official
    having jurisdiction is the official over such a proceeding in the new geographical locations.
    (iii) Filing Requirements-A motion shall be submitted on Form 1-290B and may be
    accompanied by a brief. It must be:
    (A) In writing and signed by the affected party or the attorney or representative of record, if any;
    (B) Accompanied by a nonrefundable fee as set forth in $ 103.7;
    (C) Accompanied by a statement about whether or not the validity of the unfavorable decision has
    been or is the subject of any judicial proceeding and, if so, the court, nature, date, and status or
    result of the proceeding;
    (D) Addressed to the official having jurisdiction; and
    (E) Submitted to the office maintaining the record upon which the unfavorable decision was made
    for forwarding to the official having jurisdiction.
    (iv) Effect of motion or subsequent application or petition. Unless the Service directs otherwise.
    the filing of a motion to reopen or reconsider or of a subsequent application or petition does not
    stay the execution of any decision in a case or extend a previously set departure date.
    (2) Requirements for motion to reopen. A motion to reopen must state the new facts to be proved
    in the reopened proceeding and be supported by affidavits or other documentary evidence. A
    motion to reopen an application or petition denied due to abandonment must be filed with
    evidence that the decision was in error because:
    (i) The requested evidence was not material to the issue of eligibility;
    (ii) The required initial evidence was submitted with the application or petition, or the request for
    initial evidence or additional information or appearance was complied with during the allotted
    period; or
    (iii) The request for additional information or appearance was sent to an address other than that
    on the application, petition, or notice of representation, or that the applicant or petitioner advised
    the Service, in writing, of a change of address or change of representation subsequent to filing
    and before the Service's request was sent, and the request did not go to the new address.
    (3) Requirements for motion to reconsider. A motion to reconsider must state the reasons for
    reconsideration and be supported by any pertinent precedent decisions to establish that the
    decision was based on an incorrect application of law or Service policy. A motion to reconsider a
    decision on an application or petition must, when filed, also establish that the decision was
    incorrect based on the evidence of record at the time of the initial decision.
    ( 4) Processing motions in proceedings before the Service. A motion that does not meet applicable
    requirements shall be dismissed. Where a motion to reopen is granted, the proceeding shall be
    reopened. The notice and any favorable decision may be combined.

    8 CFR 103.8


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     (b) Effect of service by mail. Whenever a person has the right or is required to do some act
    within a prescribed period after the service of a notice upon him and the notice is served by mail,
    3 days shall be added to the prescribed period. Service by mail is complete upon mailing.

    8 CFR212.5(e)

    (I) Automatic. Parole shall be automatically terminated without written notice
    (i) upon the departure from the United States of the alien, or
    (ii) if not departed, at the expiration of the time for which parole was authorized, and in the latter
    case the alien shall be processed in accordance with paragraph (e)(2) of this section except that no
    written notice shall be required.
    (2)(i) On notice. In cases not covered by paragraph (e)(I) of this section, upon accomplishment of
    the purpose for which parole was authorized or when in the opinion of the district director or
    chief patrol agent in charge of the area in which the alien is located, the Deputy Executive
    Associate Commissioner for Detention and Removal, or the Director of the Office of Juvenile
    Affairs, neither humanitarian reasons nor public benefit warrants the continued presence of the
    alien in the United States, parole shall be terminated upon written notice to the alien and he or she
    shall be restored to the status that he or she had at the time of parole. When a charging document
    is served on the alien, the charging document will constitute written notice of termination of
    parole, unless otherwise specified. Any further inspection or hearing shall be conducted under
    section 235 or 240 of the Act and this chapter, or any order of exclusion, deportation, or removal
    previously entered shall be executed. If the exclusion, deportation, or removal order cannot be
    executed within a reasonable time, the alien shall again be released on parole unless in the
    opinion of the district director, chief patrol agent, the Deputy Executive Associate Commissioner
    for Detention and Removal, or the Director of the Office of Juvenile Affairs the public interest
    requires that the alien be continued in custody.


    8 CFR 274a.14

    (a) Automatic termination of employment authorization.
    (I) Employment authorization granted under § 274a. I 2(c) of this chapter shall automatically
    terminate upon the occurrence of one of the following events:
    () The expiration date specified by the Service on the employment authorization document is
    reached;
    (ii) Exclusion or deportation proceedings are instituted (however, this shall not preclude the
    authorization of employment pursuant to § 274a. I 2(c) of this part where approp.-iate ); or
    (iii) The alien is granted voluntary departure.
    (2) Termination of employment authorization pursuant to this paragraph does net require the
    service of a notice of intent to revoke; employment authorization terminates upon the occurrence
    of any event enumerated in paragraph (a)( 1) of this section. However, automatic revocation under
    this section does not preclude reapplication for employment authorization under§ 274a. 12(c) of
    this part.
    (b) Revocation of employment authorization--
    ( I) Basis for revocation of employment authorization. Employment authorization granted under
    Sec. 274a. 12(c) of this chapter may be revoked by the district director:
    (i) Prior to the expiration date, when it appears that any condition upon which it was granted has
    not been met or no longer exists, or for good cause shown; or
    (ii) Upon a showing that the information contained in the application is not true and correct.
    (2) Notice of intent to revoke employment authorization. When a district director determines that
    employment authorization should be revoked prior to the expiration date specified by the Service,
    he or she shall serve written notice of intent to revoke the employment authorization. The notice

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    will cite the reasons indicating that revocation is warranted. The alien will be granted a period of
    fifteen days from the date of service of the notice within which to submit countervailing evidence.
    The decision by the district director shall be final and no appeal shall lie from the decision to
    revoke the authorization.




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